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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY


 RAYMOND LANKFORD, et al.,                   HON. JEROME B. SIMANDLE

                    Plaintiffs,              Civil No. 04-2636 (JBS)

       v.                                        ORDER VACATING
                                               ORDER OF DISMISSAL
 F. ALBERT IRBY, et al.,

                    Defendants.


      On February 3, 2006, this Court erroneously entered an Order

dismissing this action as to all remaining defendants without

prejudice to the right, upon motion and good cause shown, to

reopen this action [Docket Item 70] after it having been reported

to the Court that the above-captioned action had been settled;

and

      It having been reported to the Court that the above-

captioned action has been settled, but only as to defendants Dale

Irby and Randy Letang; therefore

      IT IS this     15th       day of February, 2006 hereby

      ORDERED that the February 3, 2006 Order of Dismissal [Docket

Item 70] shall be, and hereby is, VACATED as to all remaining

defendants except defendants Dale Irby and Randy Letang; and the

Clerk of the Court is ordered to restore the action to the

Docket.


                                          s/ Jerome B. Simandle
                                         JEROME B. SIMANDLE
                                         U.S. District Judge
